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                                                   U NI T E D S T A T E S DI S T RI C T C O U R T
                                                 S O U T H E R N DI S T RI C T O F N E W Y O R K

         C A T H E RI N E M C K O Y, M A R K U S F R A ZI E R, a n d
         L Y N N C H A D WI C K, i n di vi d u all y a n d o n b e h alf of all
         ot h ers si mil arl y sit u at e d,

                                              Pl ai ntiffs ,
                                                                                                                  N o. 1: 1 8-c v - 0 9 9 3 6-L G S -S L C
                             v.

         T H E T R U M P C O R P O R A TI O N a n d
         D O N A L D J. T R U M P, i n his p ers o n al c a p a cit y,

                                              D ef e n d a nts .

         P L AI N TI F F S’ S T A T E M E N T O F A D DI TI O N A L DI S P U T E D M A T E RI A L F A C T S
                                P U R S U A N T T O L O C A L CI VI L R U L E 5 6. 1 ( b)

              P urs u a nt t o L o c al R ul e 5 6. 1 ( b) of t h e Ci vil R ul es of t his C o urt a n d R ul e III. C. 6 of Y o ur

H o n or’s I n di vi d u al R ul es a n d Pr o c e d ur es f or Ci vil C as es, Pl ai ntiffs C at h eri n e M c K o y, M ar k us

Fr a zi er, a n d L y n n C h a d wi c k s u b mit t h e f oll o wi n g st at e m e nt of a d diti o n al m at eri al f a cts as t o

w hi c h t h er e e xists a g e n ui n e iss u e t o b e tri e d i n s u p p ort of Pl ai ntiffs’ o p p ositi o n t o D ef e n d a nts’

m oti o n f or s u m m ar y j u d g m e nt.

    I.          T R U MP E N D O RS E D A C N I N E X C H A N G E F O R

              F a ct N o. 1 : I n t ot al A C N a gr e e d t o




                                                                                                                                   E a c h ti m e Tr u m p a n d

AC N




1
    Cit ati o ns t o “ E x. ” r ef er t o t h e e x hi bits a n n e x e d t o t h e J u n e 1 6, 2 0 2 3 D e cl ar ati o n of C hrist o p h er R. L e C o n e y.
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                                                            A C N’s c o r p or at e r e pr es e nt ati v e t estifi e d t h at




       I n t ot al A C N a gr e e d




       F a ct N o. 2 : A C N                                         t o a pp e ar t wi c e o n T h e C el e brit y A p pr e nti c e ,




       F a ct N o. 3 : Tr u m p l a w y ers i nsist e d t h at

                     b ut Tr u m p’s e x e c uti v e s e cr et ar y a c k n o wl e d g e d t h at




II.     T R U MP P R O M OTE D A C N

       F a ct N o. 4:




                                                                 2
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          F a ct N o. 5: Tr u m p pr o m ot e d A C N




          F a ct N o. 6 : Tr u m p pr o m ot e d A C N

          F a ct N o.      7: Tr u m p pr o m ot e d A C N




          F a ct N o. 8 : Tr u m p pr o m ot e d A C N

          F a ct N o. 9: Tr u m p als o pr o m ot e d A C N i n t w o e pis o d es of his n et w or k T V s h o w, T h e

C el e brit y A p pr e nti c e . E C F 5 3 4- 3 6 ( vi d e o f o ot a g e), E C F 5 3 4- 3 7 ( vi d e o f o ot a g e).

          F a ct N o. 1 0:




          F a ct N o. 1 1: All of t h e O p p ort u nit y Dis cs




          F a ct N o. 1 2: A C N i nt er n all y tr a c k e d t h e e xt e nt t o w hi c h it w as




                                                                      3
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          F a ct N o. 1 3: A C N p us h e d th e




          F a ct N o. 1 4: A C N’s a p pr o v e d m ar k eti n g m at eri als




          F a ct N o. 1 5: Tr u m p’ s e n d ors e me nt of A C N w as




 III.       T R U M P H A D C O N T R O L O V E R T H E M E S S A G E H E C O N V E Y E D R E G A R DI N G
            A C N

          F a ct N o. 1 6: E a c h of t h e Tr u m p-A C N c o ntr a cts m a d e cl e ar t h at Tr u m p h a d t h e s ol e ri g ht

t o d et er mi n e




          F a ct N o. 1 7: P er t h at c o ntr a ct u al ri g ht, Tr u m p , a n d his e m pl o y e es a cti n g at his dir e cti o n ,

r e g ul arl y e x er cis e d Tr u m p’s ri g ht t o



                                                                                     A C N’ s m ar k eti n g c o ns ult a nt A n n e

Ar c h er B ut c h er d es cri b e d t h e pr o c ess f or pr e p ari n g t h e


                                                                     4
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I V.     T R U M P K N O WI N G L Y C O N V E Y E D F R A U D U L E N T M E S S A G E S R E G A R DI N G
         A C N

        A. T r u m p F als el y Cl ai m e d


        F a ct N o. 2 1:



                 T h at cli p w as a m o n g t h e f o ot a g e t h at




        F a ct   N o. 2 2: T h e st at e m ent Tr u m p m a d e i n F a ct N o. 2 1 r e g ar di n g




        F a ct N o. 2 3: A C N di d n ot off er




        F a ct N o. 2 4:




                                                                  6
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        B. T r u m p F als el y Cl ai m e d

        F a ct   N o.    2 5: Tr u m p ass ert e d t h at      A C N’s d es kt o p vi d e o p h o n e     w as




        F a ct   N o.    2 6: Tr u m p li k e wis e cl ai m e d t h at t h e




        F a ct N o. 2 7: Th es e st at e m e nts w er e f als e. D ef e n d a nts’ e x p ert c o n c e d e d t h er e w as n o b asis

f or




        T h e d eskt o p vi d e o p h o n e




                                                                7
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          F a ct N o. 2 8:




          C. T r u m p F als el y Cl ai m e d H e W as E n d o rsi n g A C N


          F a ct N o. 2 9: Tr u m p r e pr es e nt e d t h a t h e w as e n d orsi n g A C N




          F a ct N o. 3 0: T his     w as f als e. Tr u m p e n d ors e d A C N b e c a us e




                                                                                                 Ac c or di n g t o Dr.

K ell er, w h o will t estif y at tri al t h at




          D. T r u m p F als el y       Cl ai m e d    H e E n d o rs e d    A C N     Aft e r


          F a ct   N o. 3 1: I n e n d orsi n g A C N, Tr u m p st at e d t h at h e h a d




                                                                  8
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 F a ct N o. 3 2 : H e l at er t estifi e d t h at h e as k e d his




 F a ct N o. 3 3 :




 F a ct N o . 3 4 :




 F a ct N o. 3 5: Tr u m p al s o cl ai m e d t h at h e




 F a ct N o. 3 6: T h e Tr u m p C or p or ati o n is n ot i n p oss essi o n of



   T h e Tr u m p e m pl o y e es w h o h el p e d m a n a g e t h e A C N r el ati o ns hi p




 F a ct N o. 3 7:




                                                         9
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          F a ct N o. 3 8 : Tr u m p’s l o n gti m e s e cr et ar y R h o n a Gr aff




          F a ct N o. 3 9: I n n e g oti a ti n g t h e a gr e e m e nts, t h e Tr u m ps




          F a ct   N o. 4 0: A n n e Ar c her B ut c h er w as t h e A C N m ar k eti n g c o ns ult a nt w h o




          F a ct N o. 4 1: S h e li k e wis e w as n ot




          F a ct N o. 4 2: D a vi d M erri m a n, A C N’s c or p or at e r e pr es e nt ati v e, w as li k e wis e




          F a ct N o. 4 3: D uri n g t h e c o urs e of t h e Tr u m p -A C N e n d ors e m e nt r el ati o ns hi p, T h e Tr u m p

C or p or ati o n e m pl o y e es w h o




          F a ct N o. 4 4: Tr u m p d o es n ot k n o w




                                                                   10
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           E. D ef e n d a nts I g n o r e d

           F a ct N o. 4 5: As e a rl y as 2 0 0 8,




           F a ct   N o. 4 6: Gr aff c o ul d n ot r e c all




        F a ct N o. 4 7: I n S e pt e m b er 2 0 1 0, a r e p ort er c o nt a ct e d T h e Tr u m p C or p or ati o n r e g ar di n g



        F a ct N o. 4 8: I n 2 0 1 0, N B C




           F a ct N o. 4 9: I n 2 0 1 4, a mot h er




           F a ct   N o. 5 0:                                                                            W all St r e et J o ur n al

r e p ort ers st art e d as ki n g q u esti o ns a b o ut

                                                                11
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     s e e als o J a m es V. Gri m al di & M ar k M ar e m o nt, D o n al d Tr u m p M a d e Milli o ns Fr o m M ultil e v el

M ar k eti n g Fir m ,       W all Str e et J. ( A u g. 1 3, 2 0 1 5), htt ps:// w w w. wsj. c o m/ arti cl es/tr u m p-m a d e -

milli o ns -fr o m-m ultil e v el -m ar k eti n g -fir m- 1 4 3 9 4 8 1 1 2 8.

          F a ct N o.     5 1: I n    M ar c h 2 0 1 6,




          F. T r u m p’s E n d o rs e m e nt


          F a ct N o. 5 2: Tr u m p’ s e n d ors e m e nt




          F a ct N o. 5 3:




          F a ct N o. 5 4: A C N r e c o g ni z e d t h at Tr u m p’s e n d ors e m e nt of A C N w as




                                                                   12
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           F a ct N o. 5 5: Tr u m p’s e n d ors e m e nt



                                                                                                                   K ell er R pt. ¶ 1 4 3

Fi g. 2.

           F a ct N o. 5 6 : A c o nfi d e nti al A C N m e m or a n d u m st at e d t h at,




           F a ct N o. 5 7 : T h e fi rst ti m e A C N a p p e ar e d o n T h e C el e brit y A p pr e nti c e ,




           F a ct N o. 5 8 : A n A C N fi n a n ci al a n al ysis d et er mi n e d t h at




           F a ct   N o. 5 9: Tr u m p re c o g ni z e d t h at h e w as hi g hl y s u c c essf ul at




                                                                   13
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   F a ct N o. 6 0: Tr u m p’ s c el e brit y e n d ors e m e nt of A C N w as




   F a ct N o. 6 1: A C N w as willi n g t o




   F a ct   N o. 6 2:




   G. T h e Pl ai ntiffs R eli e d o n Tr u m p’s F r a u d ul e nt M ess a g e i n D e ci di n g t o J oi n A C N

F a ct N o. 6 3 :




                                                       14
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      F a ct N o. 6 4: Tr u m p’s e n d ors e m e nt w as “t h e r e as o n ” t h e Pl ai ntiffs j oi n e d A C N . M c K o y Tr.

2 2 9: 1 7- 1 8; a c c or d E C F 5 3 5 ¶ 3 ( M c K o y); E C F 5 3 6 ¶ 3 ( Fr a zi er); E C F 5 3 7 ¶ 3 ( C h a d wi c k).

      F a ct N o. 6 5: Tr u m p’s e n d ors e m e nt w as t h e r e as o n C at h y M c K o y j oi n e d A C N. S h e r e c all e d

Tr u m p c o m m u ni c ati n g t h e m ess a g e t h at if “ y o u j oi n t his b usi n ess a n d y o u d o t h e w or k, y o u will

s e e t h e m o n e y, ” a n d s h e j oi n e d A C N “ b e c a us e of hi m, ” st ati n g t h at w h e n “t h e y p ut u p D o n al d

Tr u m p, t h at’s w h at c o n vi n c e d [ h er ] t o si g n i nt o A C N. ” E x. 1 0 ( M c K o y Tr. 2 3 4: 5- 8, 2 4 5: 4 - 1 2);

s e e als o M c K o y Tr. 2 2 9: 1 7- 1 8, 2 5 6: 1 9 . M c K o y r e c all e d: “ H e [ Tr u m p] di d t h e r es e ar c h o n t his

b usi n ess. H e k n o ws t h at t his is a g o o d b usi n ess. I d o n’t k n o w a n yt hi n g a b o ut b usi n ess. S o h e

k n o ws. I’ m g oi n g wit h w h at h e s a ys. ” E x. 1 0 ( M c K o y Tr. 2 4 5: 1 3- 2 0). M c K o y r e cr uit e d at l e ast

fi v e I B Os, s ol d at l e ast fi v e A C N pr o d u cts or s er vi c es, a n d p ur c h as e d a n a d diti o n al t w o A C N

s er vi c es f or h ers elf. M c K o y Tr. 2 3 7: 2 1 - 2 3 9: 8. F or all of t his, M c K o y r e c ei v e d j ust $ 3 8 fr o m A C N.

E x. 1 0 ( M c K o y Tr. 2 3 6: 1 9- 2 1).

        F a ct N o. 6 6: Tr u m p’s e n d ors e m e nt w as t h e r e as o n L y n n C h a d wi c k j oi n e d A C N. At t h e ti m e

s h e i n v est e d i n A C N, C h a d wi c k w or k e d as a c ust o di a n at a s c h o ol distri ct. E C F 5 5 2-1 at 8

(C h a d wi c k Tr. 3 1: 1 1 - 2 0). S h e di d n ot h a v e a n y s al es e x p eri e n c e. C h a d wi c k Tr. 3 8: 1 0- 1 5. S h e

vi e w e d j oi ni n g A C N as a n i n v est m e nt, dr a w n i n b y t h e pr os p e ct of “r esi d u al i n c o m e. ” E C F 5 5 2 - 1

at 6 - 7 ( C h a d wi c k Tr. 2 4: 2 5- 2 5: 7); C h a d wi c k Tr. 3 3: 1 3- 3 4: 7.

        C h a d wi c k j oi n e d A C N aft er b ei n g s h o w n a vi d e o at a r e cr uit m e nt e v e nt t h at “ e x pr ess e d

D o n al d Tr u m p’s i nt er est i n t h e A C N b usi n ess m o d el ” wit h a “s ni p p et fr o m T h e A p pr e nti c e s h o w,

w hi c h s h o w e d a v er y s u c c essf ul b usi n ess m o d el a n d l o w -ris k o p p ort u niti es f or us t o g et i n v ol v e d

o n t h e gr o u n d l e v el . ” E x. 1 0 ( C h a d wi c k Tr. 2 3: 2 3- 2 4: 6). Th e “ ori gi n al j u m p off p oi nt f or [ h er]

i nt er est i n A C N w as . . . t h e vi d e o t h at D o n al d Tr u m p h a d i m pli e d t h at t his w h ol e pr o c ess w as a

l o w-ris k a n d e as y a n d a n o- br ai n er. ” E C F 5 5 2 -1 at 1 3- 1 4 ( C h a d wi c k Tr. 1 4 8: 1 9- 1 4 9: 4). A n d


                                                                  15
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C h a d wi c k t estifi e d t h at h er d e cis i o n t o j oi n w as i nfl u e n c e d b y Tr u m p’s e n d ors e m e nt. C h a d wi c k

Tr. 1 4 9: 1 2 - 1 5. C h a d wi c k p ai d t o att e n d m or e t h a n s e v e nt e e n A C N tr ai ni n g e v e nts b ut o nl y e v er

r e cr uit e d a si n gl e I B O ( h er s o n). E x. 1 0 ( C h a d wi c k Tr. 4 7: 6- 4 8: 1 7, 4 9: 1 5- 5 0: 6).

        F a ct N o. 6 7: T h e vi d e o p h o n e w as off er e d b y A C N w h e n C h a d wi c k j oi n e d t h e c o m p a n y a n d

it w as a m o n g t h e A C N pr o d u cts s h e r e c ei v e d tr ai ni n g o n. C h a d wi c k Tr. 9 7: 1 4- 2 3; E C F 5 5 2 -1 at

1 1 ( C h a d wi c k Tr. 1 4 0: 1 4- 1 9).

        F a ct N o. 6 8: Fr a zi er w at c h e d cli ps fr o m A C N’s a p p e ar a n c e o n T h e C el e brit y A p pr e nti c e

t h at f e at ur e d A C N’s d es kt o p vi d e o p h o n e pr o d u ct. E C F 5 5 2- 2 at 8 (Fr a zi er Tr. 1 6: 2 - 1 9).

        F a ct N o. 6 9: Tr u m p’s e n d ors e m e nt w as t h e r e as o n Fr a zi er j oi n e d A C N. At t h e ti m e h e

i n v est e d i n AC N, Fr a zi er w or k e d at a f ast -f o o d r est a ur a nt. I d. at 3 -4 ( Fr a zi er Tr. 1 1: 2 2- 1 2: 1 0). H e

di d n ot h a v e a n y s al es e x p eri e n c e. Fr a zi er Tr . 9 5: 7- 1 0. H e vi e w e d j oi ni n g A C N as a n i n v est m e nt,

e nti c e d b y t h e pr os p e ct of “r esi d u al i n c o m e. ” I d. 1 0 6: 4- 1 6.

        Fr a zi er t estifi e d t h at it w as “ Tr u m p t h at g a v e m e t h at m oti v ati o n [t o j oi n A C N]. ” I d. 1 0 4: 2 4-

2 5. H e t estifi e d t h at: “If D o n al d Tr u m p h a d a c o m p a n y o n a n ati o n al t el e visi o n s h o w, t h e n I w as

s ur e h e p ut his st a m p of a p pr o v al t o s a y t his is a c o m p a n y t h at a n y o n e c a n j oi n a n d b e s u c c essf ul

i n. ” I d. 2 3: 1 4- 1 8. H e f urt h er t estifi e d t h at t h e vi d e os f e at uri n g Tr u m p w er e t h e “ w or ds of

m oti v ati o n t h at m a d e m e ” tr y t o m a k e m o n e y t hr o u g h A C N, E x. 1 0 ( Fr a zi er Tr. 7 4: 1 1- 1 5), st ati n g

t h at “ [i]f D o n al d Tr u m p, a s u c c essf ul b usi n ess m a n as it is, v o u c h es f or a c o m p a n y li k e [ A C N], ”

Fr a zi er w as “ pr ett y s ur e ” t h at h e c o ul d us e A C N t o b e “s u c c essf ul ” t o o, E x. 1 0 ( Fr a zi er Tr. 7 5: 3-

7). Mr. Fr a zi er f urt h er t estifi e d t h at “t h e a p pr o v al st a m p of Mr. D o n al d Tr u m p . . . w as all I

n e e d e d . ” E x. 1 0 ( Fr a zi er Tr. 7 5: 1 5- 1 7). Fr a zi er m a d e a “ m a xi m u m eff ort ” t o si g n u p his fri e n ds

a n d f a mil y. Fr a zi er Tr. 2 7: 2 2- 3 1: 1 0, 4 1: 1 0- 4 2: 1 3.

        F a ct N o. 7 0 :



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D at e d:   J u n e 1 6, 2 0 2 3
            N e w Y or k, N e w Y or k


                                              /s/ J o h n C. Q ui n n
                                              R o b ert a A. K a pl a n
                                              J o h n C. Q ui n n
                                              C hrist o p h er R. L e C o n e y
                                              M a xi milli a n L. F el d m a n

                                              K A P L A N H E C K E R & FI N K L L P
                                              3 5 0 Fift h A v e n u e, 6 3 r d Fl o or
                                              N e w Y or k, N e w Y or k 1 0 1 1 8
                                              T el: ( 2 1 2) 7 6 3- 0 8 8 3
                                              r k a pl a n @ k a pl a n h e c k er. c o m
                                              j q ui n n @ k a pl a n h e c k er. c o m
                                              cl e c o n e y @ k a pl a n h e c k er. c o m
                                              mf el d m a n @ k a pl a n h e c k er. c o m

                                              A n dr e w G. C elli, Jr.
                                              M att h e w D. Bri n c k er h off
                                              O. A n dr e w F. Wils o n
                                              V as u d h a T all a
                                              Ni c k B o url a n d

                                              E M E R Y C E L LI B RI N C K E R H O F F
                                              A B A D Y W A R D & M A AZEL LLP
                                              6 0 0 Fift h A v e n u e at R o c k ef ell er C e nt er
                                              N e w Y or k, N e w Y or k 1 0 0 2 0
                                              T el: ( 2 1 2) 7 6 3- 5 0 0 0
                                              a c elli @ e c b a w m. c o m
                                              m bri n c k er h off @ e c b a w m. c o m
                                              a wils o n @ e c b a w m. c o m
                                              vt all a @ e c b a w m. c o m
                                              n b o url a n d @ e c b a w m. c o m

                                              Att or n e ys f or Pl ai ntiffs




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